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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Hector A. Mendoza Salinas, et al.
                                        Plaintiff,
v.                                                     Case No.: 1:17−cv−06155
                                                       Honorable Robert W. Gettleman
La Placita Taqueria #2, LLC, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 19, 2017:


       MINUTE entry before the Honorable Robert W. Gettleman: Status hearing held on
12/19/2017. By agreement, this case is dismissed with leave to reinstate on or before
1/31/2018. Civil case terminated. Mailed notice (cn)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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